
670 S.E.2d 567 (2008)
STATE of North Carolina
v.
Jerry Dean BRYANT.
No. 376P08.
Supreme Court of North Carolina.
December 11, 2008.
Michael J. Reece, Smithfield, for Bryant.
*568 Terence D. Friedman, Assistant Attorney General, Thomas J. Keith, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 14th day of August 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of December 2008."
